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            IN THE UNITED STATES DISTRICT COURT
            FOR THE SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION
DWIGHT RUSSELL, et al.,         §
             Plaintiffs,        §
                                §
V.                              § CIVIL ACTION NO. 4:19-CV-00226
                                §
HARRIS COUNTY, TEXAS, et al.,   §
             Defendants.        §


                                       ADVISORY


       INTERESTED NON-PARTY HARRIS COUNTY DISTRICT ATTORNEY KIM
OGG provides the following information requested by the Court in its order of April 14, 2020
(Docket Entry No. 122).


I.     QUESTIONS
       On April 14, the Court issued the following standing order:

       On Tuesdays and Fridays by 5:00 p.m., starting April 17, 2020, the parties
       and interested nonparties must continue to provide the court with information
       on: (1) the number of pretrial felony arrestees unable to pay a secured bond
       who have been released on a personal bond with no remaining disputes
       preventing that release; (2) the number who remain in pretrial custody because
       they are unable to pay a secured bond and whose release on a personal bond is
       challenged by the District Attorney; (3) the population of felony pretrial
       arrestees in the Harris County Jail; (4) the length of delays before
       individualized formal bail hearings after such hearings are requested; and (5)
       the number of arrestees and workers in the Jail who have positive COVID-19
       test results and the number with pending test results.

See Docket Entry No. 122 at 29.




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II.    ANSWERS

       1.     The number of pretrial felony arrestees unable to pay a secured bond who
              have been released on a personal bond with no remaining disputes
              preventing that release.

       2.     The number who remain in pretrial custody because they are unable to
              pay a secured bond and whose release on a personal bond is challenged by
              the District Attorney.
       For purposes of this analysis, we assume that anyone who has a bail amount set and
has not obtained a surety bond is a detainee “unable to pay a secured bond.”
       Please see the charts attached as Exhibits A and B.

       4.     The length of delays before individualized formal bail hearings after such
              hearings are requested.
       Representatives of the Harris County Office of Court Administration, the Harris
County District Clerk, and the Harris County District Attorney teleconferenced this week to
develop a process for the state district courts to track (a) when requests for individualized
formal bail hearings are made; and (b) when the requested individualized formal bail hearings
are thereafter conducted by the state district court. This process is expected to be functional
next week.
       The District Attorney’s Office is developing a parallel in-house process to track this
data as well which should be functional next week. In the interim, informal data gathered
from the District Attorney’s Office staff detailing the number of formal and informal bail
hearings is attached as Exhibit C.




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                                                  Respectfully submitted,

                                                  Scott A. Durfee

                                                  SCOTT A. DURFEE
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                             CERTIFICATE OF SERVICE

       I hereby certify that on this 17th day of April, 2020, a true and correct copy of the
foregoing pleading was delivered by electronic notice to counsel for the parties.



                                                  Scott A. Durfee
                                                  Scott A. Durfee




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